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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               DIVISION OF SHREVEPORT

 ERICA BROWN AND JEREMIAH,                     §       CIVIL ACTION NO. 5:21-cv-02406
 GREEN, INDIVIDUALLY AND ON
 BEHALF OF THE ESTATE OF
 RUBY GREEN

 V.                                            §       CHIEF JUDGE S. MAURICE HICKS,
                                                       JR.

 PMG OPCO-WASHINGTON, LLC
 D/BA BOOKER T. WASHINGTON   §                         MAGISTRATE JUDGE MARK L.
 SKILLED NURSING &                                     HORNSBY
 REHABILITATION AND KOURTNEY
 BROWNLEE


                         DEFENDANTS' MOTION TO DISMISS OR,
                        ALTERNATIVELY, MOTION TO TRANSFER

        Pursuant to F.R.C.P. Rules 12(b)(1), (3), and (6) or, in the alternative, Motion to Transfer

 Venue pursuant to 28 U.S.C. §1631 for want of jurisdiction and §1406(a) for cure of venue,

 Defendants PMG OPCO-WASHINGTON, LLC d/b/a BOOKER T. WASHINGTON SKILLED

 NURSING & REHABILITATION and KOURTNEY BROWNLEE file this Motion to Dismiss or,

 Alternatively, Motion to Transfer. For the reasons more fully set forth in the accompanying

 memorandum in support, Defendants respectfully request that the Court dismiss all of Plaintiffs’

 claims in their entirety against all Defendants under the Public Readiness and Emergency

 Preparedness Act, 42 U.S.C. §§ 247-6d and 247d-6e (2006) (the “PREP Act”) and the Louisiana

 Health Emergency Powers Act (the “LHEPA”).

        WHEREFORE, PREMISES CONSIDERED, Defendants respectfully request that the

 Court dismiss all Plaintiffs’ claims in their entirety against all Defendants. In the alternative,
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 Defendants request that the Court enforce transfer Plaintiffs’ claim to the United States District

 Court for the District of Columbia.


                                       Respectfully submitted,



                                       LUNN IRION LAW FIRM, LLC


                                       BY: ___/s/ Ronald E. Raney____________________
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                                       ATTORNEYS FOR PMG OPCO-WASHINGTON,
                                       LLC D/B/A BOOKER T. WASHINGTON SKILLED
                                       NURSING & REHABILITATION CENTER, AND
                                       KOURTNEY BROWNLEE



                                  CERTIFICATE OF SERVICE

        I certify that on August 16, 2021, a copy of the foregoing was filed with the Clerk of Court

 by using the CM/ECF system which will send notice of electronic filing to all counsel of record.


                                              /s/ Ronald E. Raney




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